                       Case 18-69002-jwc                      Doc 75              Filed 08/03/21 Entered 08/03/21 13:50:14                                     Desc Main
                                                                                  Document      Page 1 of 2
                                                             UNITED STATES BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF GEORGIA
                                                                     ATLANTA DIVISION
               IN RE:                                                                                           Case No.:

            CA-tries
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                                        Debtor(s)                                       pae((          < 0(1/C3--4

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                                  UNITED STALLS BANKRUPTCY COURT

                                       NORTHERN DISTRICT OF GEORGIA

                                                ATLANTA DIVISION


IN   REcAcie sci ,                                   )      Case No:       1r .--Ip9o0-
                                                            Chapter        17//3
                                                 •)                    •

                Debtor(s)

                                                 CERTIFICATE OF SERVICE



  I, the undersigned, hereby certify under penalty of perjury that i am, and at all times hereinafter
mentioned, was more than 18 year of age, and that on the 34 day of,
                                                                 ;44 Lgi-j - 720c4 I served a copy of
 ry-) 004i-)x,
which was filed in this bankruptcy matter On the.3                day of



Mode of service (check one): .                 . 0       MAILED               0    HAND DELIVERED

 Name and Address of each party served (If necessary, you may attach a list.):
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 I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS T U AN                         CO   ECT.

 Dated:.   Og           /                                    Signature: •

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 (Generic Certificate of Serriice — Revised 4/13)'
